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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION



SECURITIES AND EXCHANGE COMMISSION,

                                    Plaintiff,
                                                            CASE NO. 07 C 4684

                                                            Judge Kocoras


                         v.

SENTINEL MANAGEMENT GROUP, INC., ERIC
A. BLOOM, AND CHARLES K. MOSLEY,

                                    Defendants.



            FINAL JUDGMENT AS TO DEFENDANT CHARLES K. MOSLEY

       The Securities and Exchange Commission having filed a Complaint and Defendant

Charles K. Mosley having entered a general appearance; consented to the Court’s jurisdiction

over Defendant and the subject matter of this action; consented to entry of this Final Judgment;

waived findings of fact and conclusions of law; and waived any right to appeal from this Final

Judgment:


                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant and

Defendant’s agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section
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10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and

Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or

instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange, in connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.


                                                 II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

and Defendant’s agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section

17(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale

of any security by the use of any means or instruments of transportation or communication in

interstate commerce or by use of the mails, directly or indirectly:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to obtain money or property by means of any untrue statement of a material fact

               or any omission of a material fact necessary in order to make the statements




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                  made, in light of the circumstances under which they were made, not misleading;

                  or

       (c)        to engage in any transaction, practice, or course of business which operates or

                  would operate as a fraud or deceit upon the purchaser.



                                                  III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

and Defendant’s agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating, directly or indirectly, Sections

206(1) or 206(2) of the Investment Advisors Act of 1940 (“Advisors Act”) [15 U.S.C. §§ 80b-

6(1) and 80-b-6(2)], by using the mails or any means or instrumentality of interstate commerce:

       (1) To employ any device scheme, or artifice to defraud any client or prospective client;

             or

       (2) To engage in any transaction, practice or course of business which operates as a fraud

             or deceit upon any client or prospective client.



                                                  IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

and Defendant’s agents, servants, employees, attorneys, and all persons in active concert or

participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating Section 206(4) of the Advisors

Act [15 U.S.C. § 80b-6(4)] and Rule 206(4)-(2) thereunder [17 C.F.R. §275.206(4)-2], by using

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the mails or any means or instrumentality of interstate commerce, directly or indirectly to engage

in any act, practice, or course of business which is fraudulent, deceptive or manipulative, as

those terms have been defined by the SEC by rules and regulations, by taking custody of client

funds or securities that were not maintained by a qualified custodian in a separate client account

for each client under that client’s name; or in accounts that contain only the clients’ funds and

securities, under the investment advisor’s name as agent or trustee for the clients.

                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


                                                VI.


       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.




Dated: 1/26/2016

                                              ____________________________________
                                              Charles P. Kocoras
                                              United States District Court Judge




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